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10
                                UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                     SAN FRANCISCO DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)  ) Master File No. CV-07-5944 SC
14   ANTITRUST LITIGATION           )
                                    ) MDL No. 1917
15                                  )
16                                  )
                                    )
17   This document relates to:      ) PROOF OF SERVICE
                                    )
18   ALL INDIRECT PURCHASER ACTIONS )
                                    ) Hearing Date: April 18, 2014
19                                  ) Time: 10:00 a.m.
20                                  ) Courtroom: One, 17th Floor
                                    ) Judge: Honorable Samuel Conti
21                                  )

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                                              PROOF OF SERVICE
                                 Master File No. CV-07-5944-SC; MDL No. 1917
            Case 4:07-cv-05944-JST Document 2523-2 Filed 04/04/14 Page 2 of 3




 1          I, Lauren C. Capurro, declare as follows:

 2          I am a resident of the State of California, over the age of eighteen years, and not a party

 3   to the within action. I am employed in the State of California, where the mailing occurs, and my

 4   business address is TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP, 2280 Union Street, San

 5   Francisco, California 94123.

 6          I further declare that I am readily familiar with the business practices for collection and

 7   processing of correspondence for mailing with the United States Postal Service this same day in

 8   the ordinary course of business.

 9          On April 4, 2014, I served a true and correct copy of the following document(s):

10          1. INDIRECT PURCHASER PLAINTIFFS’ RESPONSE TO OBJECTIONS TO
               FINAL APPROVAL OF SETTLEMENT WITH LG ELECTRONICS, INC.;
11             LG ELECTRONICS USA, INC.; AND LG ELECTRONICS TAIWAN TAIPEI
               CO. LTD.
12

13          2. DECLARATION OF JOSEPH M. PATANE IN SUPPORT OF INDIRECT
               PURCHASER PLAINTIFFS’ RESPONSE TO OBJECTIONS TO FINAL
14             APPROVAL OF SETTLEMENT WITH LG ELECTRONICS, INC.; LG
               ELECTRONICS USA, INC.; AND LG ELECTRONICS TAIWAN TAIPEI CO.
15             LTD.
16
     on all counsel registered for ECF and by sending a true and correct copy of each document to
17
     each addressee below in the manner described below:
18
            David N. Lake
19
            Law Offices of David N. Lake
20          A Professional Corporation
            16130 Venture Boulevard, Suite 650
21          Encino, CA 91436
            Email: david@lakelawpc.com
22

23          Counsel for Objector David Silvestri

24          Sam P. Cannata
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25          Cleveland, Ohio 44124
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26

27          Counsel for Objector Jill K. Cannata

28
                                                     1
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               Case 4:07-cv-05944-JST Document 2523-2 Filed 04/04/14 Page 3 of 3




 1      [ X]                  BY E-MAIL: I transmitted the foregoing document(s) listed above to
                              the addressee(s) identified above via electronic mail pursuant to
 2                            agreement among the parties.
 3
        [ ]                   BY MAIL: I placed a true and correct copy of each document listed
 4                            above in a sealed envelope with postage thereon fully prepaid, in the
                              United States mail this same day, at San Francisco, California,
 5                            following ordinary business practices.
 6      [ ]                   By personally delivering the document(s) listed above to the person(s)
                              at the address(es) set forth below.
 7

 8
               I declare under penalty of perjury under the laws of the State of California that the above
 9
     is true and correct.
10
               Executed on April 4, 2014 at San Francisco, California.
11

12
                                                    /s/ Lauren C. Capurro
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                                                            Lauren C. Capurro
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